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              IN THE COURT OF COMMON PLEAS, SUMMIT COUNTY, OHIO

                                             CASE NUMBER: CV-2012-03-1727

VICTOR C. MILLER
1844 AKINS RD
Broadview Heights, OH 44147                                   SUMMONS
Primary Plaintiff
-VS-

HUNTINGTON NATIONAL BANK
MERGER TO FIRST NATIONAL BANK OF ZANESVILLE,
917 EUCLID AAVE
Cleveland, OH 44115
Primary Defendant


TO the following: HUNTINGTON NATIONAL BANK
MERGER TO FIRST NATIONAL BANK OF ZANESVILLE,
917 EUCLID AAVE
Cleveland, OH 44115

You have been named as a defendant(s) in a complaint filed in the Summit County Court of
Common Pleas, Summit County Courthouse 205 S. High St., Akron Ohio, 44308.

A copy of the COMPLAINT is attached hereto. The name and address of the Plaintiff's attorney
is:

DANIEL GLENN MORRIS
950 STANDARD BUILDING
CLEVELAND, OH 44113

You are hereby summoned and required to serve upon the attorney listed above, or upon
the party, if they have no attorney of record, a copy of an answer to the COMPLAINT
within twenty-eight (28) days after service of this summon on you, exclusive of the day of
service. Your answer must be filed with the Court within three days after the service of a
copy of the answer on the attorney, or upon the party, if there is no attorney of record

If you fail to appear and defend, judgment by default may be rendered against you for the
relief demanded in the COMPLAINT.

Daniel M. Horrigan                , Clerk, Court Of Common Pleas, Summit County, Ohio.

By s/ MD             04/12/2012




CV Form 016                                                                   Rev 1.100614
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